
PER CURIAM.
We have for review a decision of the Second District Court of Appeal passing upon the following question certified to be of great public importance:
DOES THE SUPREME COURT’S PROMULGATION OF THE FORM “ORDER OF PROBATION” IN FLORIDA RULE OF CRIMINAL PROCEDURE 3.986 CONSTITUTE SUFFICIENT NOTICE TO PROBATIONERS OF CONDITIONS 1-11 SUCH THAT ORAL PRONOUNCEMENT OF THESE CONDITIONS BY THE TRIAL COURT IS UNNECESSARY?
See Geller v. State, 651 So.2d 192, 193 (Fla. 2d DCA 1995). We have jurisdiction. Art. V, § 3(b)(4), Fla. Const. Since we have already answered the identical question in the affirmative in State v. Hart, 668 So.2d 589 (Fla.1996), we quash the district court decision and remand to the district court for proceedings consistent with Hart.
It is so ordered.
GRIMES, C.J., and OVERTON, SHAW, KOGAN, HARDING, WELLS and ANSTEAD, JJ., concur.
